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                  UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 PAULA GROSSNICKLE for I.R.G., :           Civil No. 1:20-CV-00375
 a minor,                           :
                  Plaintiff,        :
                                    :      (Magistrate Judge Schwab)
       v.                           :
                                    :
KILOLO KIJAKAZI, Acting             :
Commissioner of Social Security     :
                                    :
                  Defendant.        :
                                 ORDER
                             September 30, 2021

      For the reasons set forth in the Memorandum Opinion filed concurrently

with this Order, IT IS ORDERED that the Commissioner’s decision is

AFFIRMED. The Clerk of Court shall enter judgment in favor of the

Commissioner and against the plaintiff and then close this case.




                                             S/Susan E. Schwab
                                             Susan E. Schwab
                                             United States Magistrate Judge
